 1   WO
 2
 3
 4
 5
 6                         IN THE UNITED STATES DISTRICT COURT
 7                                  FOR THE DISTRICT OF ARIZONA
 8
 9   John V Feneck,                                        No. CV-23-01473-PHX-ROS
10                     Plaintiff,                          ORDER
11   v.
12   SBHU Life Agency Incorporated,
13                     Defendant.
14
15             Before the Court is Defendant’s Motion to Stay this action pending the resolution
16   of Plaintiff’s legal malpractice case pending in Maricopa County Superior Court. (Doc.

17   49, “Mot.”). Plaintiff opposes the Motion. (Doc. 54, “Resp.”). Defendant has replied.
18   (Doc. 57, “Reply”). For the reasons set forth below, the Court will deny the Motion.

19        I.      Background

20             Over 20 years ago, Plaintiff purchased a variable universal life insurance policy (the
21   “Policy”) from The Lincoln National Life Insurance Co. (“Lincoln Life”). Plaintiff
22   purchased the Policy though an insurance producer who worked at SBHU Life Agency

23   (“Defendant”) and left shortly after the purchase. Lincoln Life was contractually required

24   to notify Plaintiff of any lapse under the Policy. In 2021, Lincoln Life allegedly sent

25   Plaintiff three notifications of an impending lapse and a notice of lapse with instructions to

26   apply for reinstatement. Plaintiff alleges he did not receive, or timely receive, those
27   notices. He then applied to reinstate the Policy and Lincoln Life denied his request.
28             Plaintiff filed three separate actions related to these events to recover the value of
 1   the Policy. The first—in August 2022 against Lincoln Life, which was removed to the
 2   District of Arizona from the Maricopa County Superior Court and ultimately dismissed by
 3   stipulation in November 2023 after the court twice denied Plaintiff’s request to add
 4   Defendant SBHU to the suit. The second—the instant case against Defendant SBHU in
 5   July 2023, wherein the two remaining counts are breach of contract and breach of the
 6   implied covenant of good faith and fair dealing. And the third—in May 2024 for legal
 7   malpractice against Plaintiff’s former counsel, who represented him in the first proceeding
 8   against Lincoln Life.
 9            Defendant contends Plaintiff recently disclosed the existence of his pending legal
10   malpractice suit, which requires Plaintiff to prove he would have succeeded in his original
11   suit against Lincoln Life. Because Plaintiff seeks monetary damages for for the value of
12   the Policy in the instant suit, Defendant argues this suit will be rendered moot if he prevails
13   in his legal malpractice action. He thus argues a stay of this proceeding is warranted.
14      II.      Discussion
15               A. Applicable Stay Standard: Landis or Colorado River
16            As an initial matter, the parties dispute the applicable legal standard in this
17   circumstance. Defendant contends the Court may stay this action under Landis v. N. Am.
18   Co., 299 U.S. 248 (1936). The authority for a stay under Landis arises from a court’s
19   inherent power “to control the disposition of the causes on its docket with economy of time
20   and effort for itself, for counsel, and for litigants.” Landis, 299 U.S. at 254; see also Leyva
21   v. Certified Grocers of Cal., Ltd., 593 F.2d 857, 863 (9th Cir. 1979) (“A trial court may,
22   with propriety, find it is efficient for its own docket and the fairest course for the parties to
23   enter a stay of an action before it, pending resolution of independent proceedings which
24   bear upon the case.”). Plaintiff, on the other hand, contends the proper legal standard for
25   evaluating stays of federal actions due to related state-court litigation is the more restrictive
26   standard set forth in Colorado River Water Conservation District v. United States, 424 U.S.
27   800 (1976).
28            In exceptional circumstances, “considerations of wise judicial administration,


                                                   -2-
 1   giving regard to conservation of judicial resources and comprehensive disposition of
 2   litigation” can support a stay of federal litigation in favor of simultaneous and related state
 3   proceedings. Ernest Bock, LLC v. Steelman, 76 F.4th 827, 836 (9th Cir. 2023), cert. denied,
 4   144 S. Ct. 554 (2024) (citing Colorado River, 424 U.S. at 813, 817). The Ninth Circuit in
 5   Ernest Bock expressly held the Colorado River factors, not the courts’ inherent docket-
 6   management powers under Landis, “control whether a stay can issue in favor of parallel
 7   state proceedings.” Ernest Bock, 76 F.4th at 843 (citing Cottrell v. Duke, 737 F.3d 1238,
 8   1249 (8th Cir. 2013) (“To permit a district court to rely solely on its inherent power to
 9   control its docket, when the effect of the district court’s order is to accomplish the same
10   result contemplated by Colorado River, would allow a court to bypass the rigorous test set
11   out by the Supreme Court.”).
12          Defendant argues Colorado River is not controlling because parallelism between
13   the federal and state cases is not present. But parallelism is a threshold requirement in
14   evaluating whether to grant a stay under the Colorado River factors, not whether to apply
15   the doctrine in the first place.      The federal and state proceedings need only be
16   “simultaneous and related” for the Colorado River doctrine to apply. Ernest Bock, 76 F.4th
17   at 842. It is undisputed that the proceedings are simultaneous and related. Indeed,
18   Defendant concedes “there are overlapping factual determinations between the legal
19   malpractice lawsuit and this lawsuit.” (Mot. at 5). Thus, the Colorado River doctrine will
20   guide the Court’s analysis.
21             B. Application of Colorado River
22          “A district court may, in its discretion, stay or dismiss a federal case in favor of
23   related state proceedings: (1) when an action seeks only declaratory relief or (2) when
24   exceptional circumstances exist.” Scotts Co. LLC v. Seeds, Inc., 688 F.3d 1154, 1158 (9th
25   Cir. 2012) (internal citations omitted). Courts consider the following eight factors to
26   determine whether exceptional circumstances exist:
27          (1) which court first assumed jurisdiction over any property at stake; (2) the
28          inconvenience of the federal forum; (3) the desire to avoid piecemeal
            litigation; (4) the order in which the forums obtained jurisdiction; (5) whether

                                                  -3-
 1          federal law or state law provides the rule of decision on the merits; (6)
 2          whether the state court proceedings can adequately protect the rights of the
            federal litigants; (7) the desire to avoid forum shopping; and (8) whether the
 3          state court proceedings will resolve all issues before the federal court.
 4   R.R. St. & Co. Inc. v. Transport Ins. Co., 656 F.3d 966, 978–79 (9th Cir. 2011).
 5          As stated, “[p]arallelism is a threshold requirement for a Colorado River stay.”
 6   Ernest Bock, 76 F.4th at 838 (holding that where “federal and state proceedings are not
 7   sufficiently parallel, a Colorado River stay may not issue”); United States v. State Water
 8   Resources Control Bd., 988 F.3d 1194, 1203 (9th Cir. 2021) (the eighth factor, parallelism,
 9   should be addressed “as a preliminary matter”). While “exact parallelism” is not necessary,
10   the two federal and state proceedings must be “substantially similar.” Nakash v. Marciano,
11   882 F.2d 1411, 1416 (9th Cir. 1989).         That is, deciding to invoke Colorado River
12   “necessarily contemplates that the federal court will have nothing further to do in resolving
13   any substantive part of the case.” Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp.
14   (Moses Cone), 460 U.S. 1, 28 (1983). The state court action must be “an adequate vehicle
15   for the complete and prompt resolution of the parties.” Ernest Bock, 76 F.4th at 841
16   (emphasis in original); Intel Corp. v. Adv. Micro Devices, Inc., 12 F.3d 908, 913 (9th Cir.
17   1993) (“A district court may enter a Colorado River stay order only if it has ‘full
18   confidence’ that the parallel state proceeding will end the litigation.”) (citation omitted).
19          In this case “there [is] a realistic probability—bordering on certainty—that one of
20   the […] anticipated outcomes in state court […] w[ill] require additional proceedings in
21   federal court.” See Mendocino Railway v. Ainsworth, 113 F.4th 1181, 1192 (9th Cir. 2024)
22   (citation omitted). The only way the state legal malpractice action could render the instant
23   proceeding unnecessary or moot is if the state-court defendant is found liable for the full
24   amount of Plaintiff’s damages. Any other result would fail to obviate these proceedings.
25   Thus, there is a “realistic probability that a federal controversy will remain after the state
26   proceedings are complete.” Mendocino Railway, 113 F.4th at 1192; see Riaz v. Henry,
27   2024 WL 2835713, at *4 (E.D. Cal. June 4, 2024) (denying motion to stay upon finding
28   that a state appellate court may reverse a ruling leaving the federal court with something


                                                  -4-
 1   “further to do”).
 2          “Since [this Court] find[s] that there exists a substantial doubt as to whether the state
 3   court proceedings will resolve all of the disputed issues in this case, it is unnecessary ... to
 4   weigh the other factors included in the Colorado River analysis.” State Water Res. Control
 5   Bd., 988 F.3d at 1208 (quoting Intel Corp., 12 F.3d at 913 n.7). Further, “[a] docket
 6   management stay may not issue in favor of parallel state proceedings if the Colorado River
 7   factors do not support a stay.” Ernest Bock, 76 F.4th at 843. However, the Court would
 8   deny a stay even upon consideration of the Landis factors1 because Defendant has not
 9   sufficiently shown a persuasive case of hardship or inequality in proceeding in this action.
10   Defendant’s assertion that the result of the state court action will affect how it approaches
11   its litigation strategy does not justify staying this proceeding for an unknown duration and
12   delaying potential recovery. See Lockyer v. Mirant Corp., 398 F.3d 1098, 1112 (9th Cir.
13   2005) (“being required to defend a suit, without more, does not constitute a ‘clear case of
14   hardship or inequity’ within the meaning of Landis”) (citation omitted). Thus, a stay is not
15   warranted under either Colorado River or Landis.
16          Accordingly,
17          IT IS ORDERED Defendant’s Motion to Stay (Doc. 49) is DENIED.
18          Dated this 14th day of March, 2025.
19
20
21                                                       Honorable Roslyn O. Silver
22                                                       Senior United States District Judge

23
24
25
26
     1
       The three Landis factors include (1) the possible damage which may result from the
27   granting of a stay; (2) the hardship or inequity which a party may suffer in being required
     to go forward; and (3) and the orderly course of justice measured in terms of the simplifying
28   or complicating of issues, proof, and questions of law which could be expected to result
     from a stay. Landis, 299 U.S. at 248.

                                                  -5-
